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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        X
BLOCKCHAIN MINING SUPPLY AND
SERVICES LTD.,                                              Case No. 18-CV-11099-ALC

                       Plaintiff,
                                                            SUPPLEMENTAL
       -against-                                            DECLARATION OF
                                                            DARREN MAGOT
SUPER CRYPTO MINING, INC. (N/K/A DIGITAL
FARMS, INC. and DPW HOLDINGS, INC.                          [PUBLIC – REDACTED]
(N/K/A AULT AULLIANCE, INC.),

                       Defendants.
                                                        X

       I, Darren Magot, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

following is true and correct:

       1.      I am the Chief Executive Officer of Defendant Super Crypto Mining, Inc. (n/k/a

Digital Farms, Inc.) (“Super Crypto”) in the above-referenced matter. I have been the Chief

Executive Officer since Super Crypto’s inception.

       2.      I make this supplemental declaration in opposition to Plaintiff Blockchain Mining

Supply and Services Ltd.’s (“Plaintiff”) motion for summary judgment.

       3.      I make this supplemental declaration based upon my own personal knowledge of

the facts and circumstances set forth herein.

       4.      On or about March 8, 2018, Super Crypto entered into an asset purchase agreement,

dated March 8, 2018 (the “Agreement”), with Plaintiff, related to the purchase and sale of 1,100

Bitmain Antminer S9 model cryptocurrency machines and 1,100 power supply units (collectively,

the “Machines”). A true and correct copy of the Agreement is attached to the Supplemental

Declaration of Robert B. Volynsky, dated August 12, 2023, at Exhibit 36.



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       5.      I executed the Agreement on behalf of Super Crypto, in my capacity as Chief

Executive Officer of Super Crypto.

       6.      Pursuant to the terms of the Agreement, Super Crypto was only contractually

obligated to: (i) pay a deposit of $163,625 (the “Deposit”); and (ii) purchase 500 Machines (the

“Contracted-For Machines”) for $1,487,500 (the “Contracted-For Amount”), or $2,975 per

Contracted-For Machine.

       7.      At no point did I state to either of Plaintiff’s principals, William Tencer or Yonah

“Joe” Kalfa, that Super Crypto needed approval from DPW Holdings, Inc. (n/k/a Ault Alliance,

Inc.) (“DPW”) to enter into an agreement with Plaintiff.

       8.      Super Crypto was never contractually obligated to consummate a purchase for the

remaining 600 Machines (the “Remaining Machines”).

       9.      This was for good reason as I had expressed concern to Mr. Tencer regarding Super

Crypto’s ability to obtain the necessary financing for the Remaining Machines, as well as the

volatile state of the cryptocurrency market.

       10.     Indeed, Super Crypto did not want to commit itself to purchasing all 1,100

Machines due to the volatile cryptocurrency market, as well as the uncertainties surrounding its

ability (as a nascent company) to obtain the necessary financing for all 1,100 Machines.

       11.     Super Crypto felt comfortable that it would be able to obtain the requisite financing

to pay for some of the Machines and informed Plaintiff of this limitation.

       12.     Thus, Super Crypto and Plaintiff agreed that the Agreement would be structured

with a fixed liquidated damages provision such that Super Crypto would forfeit the Deposit if a

purchase of all 1,100 Machines was not consummated by a date certain.




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       13.     Super Crypto and Plaintiff exchanged multiple drafts of the Agreement that

incorporated this bargained-for construct. See Exs. 1 and 2 hereto.

       14.     Exhibit 1 hereto is a document that is Bates Stamped DEFENDANTS_001410 –

DEFENDANTS_001436 and is a true and correct copy of an e-mail, and accompanying

attachment, from Mr. Tencer, which was received by me at the email address,

darren@supercrypto.com.

       15.     During 2018, I utilized the e-mail address darren@supercrypto.com in connection

with my Super Crypto related communications.

       16.     Throughout my correspondence with Mr. Tencer during 2018, Mr. Tencer utilized

two e-mail addresses: sales@timerlane-mldg.com and wtencer@midcitycapital.ca.

       17.     Throughout my correspondence with Mr. Kalfa during 2018, Mr. Kalfa utilized the

e-mail address joekalfa@gmail.com.

       18.     On or about March 6, 2018, Plaintiff proposed and Super Crypto agreed that, in the

event that Super Crypto did not pay $1,621,375 (the “Remaining Amount”) for the Remaining

Machines, on or before April 15, 2018 (the “Expiration Date”), the Deposit would be automatically

forfeited and that, among other things, Super Crypto would have no further obligations with

regards to, among other things, the Remaining Machines.

       19.     Exhibit 2 hereto is a document that is Bates Stamped BMS 001141 – BMS 001167,

which I recognize to be a true and correct copy of an e-mail, and accompanying attachment, that I

sent from the email address darren@supercrypto.com to Messrs. Tencer and Kalfa.

       20.     Article 3 of the draft form of the Agreement contained at Exhibit 2 (i.e., BMS

001159 – BMS 001167) was revised at least one additional time prior to the execution of the

Agreement.



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        21.    Article 3 of the Agreement provides that, in the event that the Remaining Amount

is not paid on or before the Expiration Date, the Deposit would be forfeited and the balance of the

Agreement “shall be deemed null and void and all parties shall be relieved of its further obligations

herein.” See Agreement, §3.

        22.    Super Crypto complied with its obligations under the Agreement by causing the

Deposit and Contracted-For Amount to be paid to Plaintiff, in the amounts and on or about the

dates set forth in the table below:

 Payment Date                         Payment Amount                Purpose of Payment

 March 9, 2018                        $80,000                       Deposit

 March 13, 2018                       $83,625                       Deposit

 March 29, 2018                       $100,000                      Contracted-For Amount

 April 17, 2018                       $1,387,500                    Contracted-For Amount



        23.    Although the Contracted-For Amount was paid after March 23, 2018, and Plaintiff

accepted and retained the Contracted-For Amount after March 23, 2018, Plaintiff never

conditioned its acceptance of the belated Contracted-For Amount on a modification or waiver of

Article 3.

        24.    Super Crypto did not pay the Remaining Amount to Plaintiff, in whole or in part,

on or before April 15, 2018.

        25.    As a result of same, it was my understanding that the Deposit had been forfeited to

Plaintiff and that Plaintiff was free to sell the Remaining Machines elsewhere.

        26.    I articulated this sentiment to Mr. Tencer on multiple occasions after the Expiration

Date.


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        27.    To date, Plaintiff has retained the Deposit.

        28.    Notwithstanding, from April 16, 2018 forward, Super Crypto and Plaintiff both

expressed a continued willingness to work with one another beyond the expired Agreement, in an

effort to foster an ongoing business relationship in this niche space and to avoid the potential costs

and expenses of the unnecessary litigation that had been threatened by Plaintiff.

        29.    Both parties were aware that the Agreement had been deemed null and void, the

Deposit forfeited, and that Plaintiff was free to sell the Remaining Machines elsewhere. As

previously stated, I had numerous discussions with Mr. Tencer to that effect.

        30.    At no point during these ongoing discussions with Plaintiff did Super Crypto and

Plaintiff agree that Plaintiff would be required to forebear from reselling the Remaining Machines.

        31.    Additionally, at no point during these ongoing discussions with Plaintiff did

Plaintiff ever state that it had decided that it was ceasing its active business operations or express

its desire to exit the cryptocurrency space.

        32.    To the contrary, Plaintiff had made it seem like there could be future business

relations. Relying on these representations, Super Crypto attempted to work something out with

Plaintiff.

        33.    Over the course of the next few months, Plaintiff would insist that Super Crypto

continue to make good-faith deposits and additional payments while Plaintiff and Super Crypto

endeavored to formulate a new arrangement between the parties that could avoid the cost and

burden of the threatened litigations by Plaintiff.

        34.    Super Crypto and Plaintiff, however, could not reach a new agreement with

definitive terms regarding the Remaining Machines.




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        35.     I understand from my counsel that Plaintiff is now claiming that Super Crypto either

modified the Expiration Date under the Agreement or agreed to waive Article 3.

        36.     None of these statements are true and I, on behalf of Super Crypto, vehemently

object to Plaintiff’s insinuations.

        37.     Super Crypto never agreed to extend the Expiration Date and Super Crypto never

executed any written amendments to that effect.

        38.     Similarly, Super Crypto never agreed to waive Article 3 and never executed any

written waivers waiving Article 3 of the Agreement.

        39.     Super Crypto would not, did not, and never intended to waive or modify the terms

of the Agreement in any way that would require Super Crypto to pay the Remaining Amount, as

that provision was expressly bargained-for by and between Plaintiff and Super Crypto.

        40.     Super Crypto agreed to pay Plaintiff a total of $1,651,125 (i.e., the Deposit and the

Contracted-For Amount) under the Agreement for the inclusion of Article 3.

        41.     Throughout its existence, Super Crypto had its own bylaws. A true and correct

copy of Super Crypto’s bylaws is attached hereto at Exhibit 3 (DEFENDANTS_000007 –

DEFENDANTS_000027).

        42.     In 2018, I was not an officer, director, or employee of DPW.

        43.     Throughout its existence, Super Crypto also had its own Board of Directors that

executed numerous unanimous written consents (“UWCs”) authorizing various of Super Crypto’s

corporate actions.     True and correct copies of UWCs are attached hereto at Exhibit 4

(DEFENDANTS_000035 – DEFENDANTS_000041).

        44.     Throughout its existence, Super Crypto also had its own website: first, at

www.supercryptomining.com and then, after its name change, at www.digitalfarmsinc.com.



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       45.     Throughout its existence, Super Crypto had its own balance sheet.

       46.     Throughout its existence, Super Crypto also generated its own revenue from mining

cryptocurrency from its cryptocurrency mining machines.         Such cryptocurrency would be

deposited into Super Crypto’s cryptocurrency wallet.

       47.     A majority of Super Crypto’s cryptocurrency mining machines, including, but not

limited to, the Contracted-For Machines, were maintained at a data mining center located at 506

W. South St, South Bend, IN 46601-2784 (the “Data Mining Center”).

       48.     The Data Mining Center was uniquely outfitted to support a large scale of

cryptocurrency mining machines.

       49.     In connection with the Data Mining Center, Super Crypto engaged Digital Farms,

LLC, who was responsible for managing the Data Mining Center, including, but not limited to, the

build out of the Data Mining Center. True and correct copies of the Master Services Agreement

between Super Crypto and Digital Farms, LLC, and the Amended and Restated Master Services

Agreement between Super Crypto and Digital Farms, LLC are attached hereto at Exhibits 5

(DEFENDANTS_004793 –DEFENDANTS_004803) and 6 (DEFENDANTS_004832 –

DEFENDANTS_004840) hereto.

       50.     Super Crypto also had its own insurance policy from                            (the

“Insurance Policy”). A true and correct copy of the Insurance Policy is attached hereto at Exhibit

7 (DEFENDANTS_000089 – DEFENDANTS__000196). A copy of the cover page from the

Insurance Policy is also attached to the Declaration of Richard Mandel, dated May 30, 2023, at

Exhibit BBBBB.

       51.     Super Crypto’s “                     is listed on the Insurance Policy as:

                 See Ex. 7, at DEFENDANTS_000098.



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       52.     One of the locations listed under the “                           ” section of the

Insurance Policy is

                 See id., at DEFENDANTS_000099.

       53.     From time to time, Super Crypto would seek advances from DPW related to, inter

alia, potential transactions that Super Crypto was contemplating and/or Super Crypto’s

outstanding obligations.

       54.     DPW would then generally advance a set amount to Super Crypto without any

conditions on the usage of such advanced funds.

       55.     Thus, any decisions regarding the allocation of the advanced funds from DPW

remained exclusively with Super Crypto.

       56.     Exhibit 8 hereto is a document that is Bates Stamped DEFENDANTS_001813 –

DEFENDANTS_001814 and is a true and correct copy of an e-mail that I sent from the email

address darren@supercrypto.com to Mr. Tencer.

       57.     Exhibit 9 hereto is a document that is Bates Stamped DEFENDANTS_003178 –

DEFENDANTS_003179 and is a true and correct copy of an e-mail from Mr. Tencer, which was

received by me at the email address darren@supercrypto.com.

       58.     Exhibit 10 hereto is a document that is Bates Stamped DEFENDANTS_003198

and is a true and correct copy of an e-mail from Mr. Tencer, which was received by me at the email

address darren@supercrypto.com.

       59.     Exhibit 11 hereto is a document that is Bates Stamped DEFENDANTS_003331 –

DEFENDANTS_003338 and is a true and correct copy of an e-mail from Mr. Tencer, which was

received by me at the email address darren@supercrypto.com.




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